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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                             CIVIL ACTION NO. 4:05CR95


DANIEL PALOMENO, REFUGIO BARRON, JR.
LASHON ANDERSON, TONY BARNES,
McCLAIN BRADLEY, MARCUS CHRISTIAN,
KIM CURTIS, JERMAINE EGGLESTON,
KEITH GARDNER, SHARON HALL,
VERNAL MAGBEE, LAWRENCE PAUL,
GARY RANSOM, CALVIN SHOEMAKER,
SHADRACH TOWNSEND, CHANISE WESTBROOKS,
ANDREW WILLIAMS, LULU WILLIS,
ANDRE WINFORD, VESTER WRIGHT,
ANTHONY ANDERSON, KEVIN DATES,
SHONDA BURT FORD, DANIEL IBARRA,
DAVID IBARRA, TORIS JACKSON,
KEVIN MATTHEWS, HEZIEKIAH PATTON


                                               ORDER

       This cause is before the Court on defendant David Ibarra’s Motion(s) for Continuance ([477]

and [528]). The Court, having reviewed the motion and being otherwise fully advised in the

premises, finds as follows, to-wit:

       The trial of this matter is currently set for March 20, 2006. Counsel for defendant avers that

he lacks sufficient time to devote to trial preparation due to his trial obligations in other previously

scheduled matters. Furthermore, this is a complex case with numerous defendants. The discovery

is voluminous and defense counsel requires additional time to review the available discovery

materials and to confer with his client. The government does not oppose the relief sought in the
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instant motions.1 Based on the foregoing, the Court finds that the defendant’s Motion for

Continuance is well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from March 20, 2006 until the new trial date to be set in this matter. The time

is excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendant Ibarra a reasonable time for adequate and effective

preparation of his defense. Therefore, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendant in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that

       1.      The defendant’s Motion(s) for Continuance ([477] and [528])Supplemental Motion

               for Continuance [368] are GRANTED;

       2.      That the trial of this matter is continued as to all defendants until Monday, July 3,

               2006 at 9:00 a.m. in Courtroom 3 East of the United States District Courthouse in

               Oxford, Mississippi;

       3.      That the delay from March 20, 2006 until July 3, 2006 is excluded as set out above;

       4.      That the deadline for filing pretrial motions is June 12, 2006;

       5.      That the deadline for submitting a plea agreement is June 19, 2006.



       1
           Defendant Kevin Matthews objects to defendant Ibarra’s Motion for Continuance on
various grounds, all directed at the delay occasioned by a continuance and the resulting prejudice
to his rights under the Speedy Trial Act. Title 18, section 3161 (h)(7) provides for the exclusion
of periods of delay “when the defendant is joined for trial with a codefendant as to whom the
time for trial has not run and no motion for severance has been granted.” Precisely those
circumstances are present in this case. The Court will address defendant Matthews’ alternative
motion for release pending trial when it takes up Mr. Matthews’ separately filed Motion to
Reconsider Detention Order and Grant Bond [510].

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  SO ORDERED, this the 1st day of March, 2006.


                                           /s/ W. Allen Pepper, Jr.
                                           W. ALLEN PEPPER, JR.
                                           UNITED STATES DISTRICT JUDGE




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